                 Case 1-15-44838-nhl                Doc 17        Filed 12/15/15    Entered 12/15/15 15:06:13

                                          UNITED STATES BANKRUPTCY COURT
                                           EASTERN DISTRICT OF NEW YORK
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                                                         %URRNO\Q, NY 11

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IN RE:                                                                             Case No. 15-44838-nhl
                                                                                   Chapter 13
        Guillermo Rodriguez


                                                   Debtor
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                                REQUEST FOR JUDICIAL DETERMINATION
                            CONCERNING DISMISSAL PURSUANT TO 11 U.S.C. § 521(i)

The Clerk’s Office requests the Court to determine whether this case should be dismissed pursuant to 11 U.S.C. § 521(i).
The following deficiencies under 11 U.S.C. § 521(a)(1) are noted:
✔ Notice to Individual Debtor with Primarily Consumer Debts under 11 U.S.C. § 342(b) (Official Form 2010)
✔ Schedule A/B (Property) (Official Form 106A/B)
     Schedule D (Creditors Who Have Claims Secured By Property) (Official Form 106D)
✔ Schedule E/F (Creditors Who Have Unsecured Claims) (Official Form 106E/F)

✔ Schedule I (Your Income) (Official Form 106I)
✔ Schedule J (Your Expenses) (Official Form 106J)
     Schedule J-2 (Expenses for Separate Household of Debtor 2) (Official Form 106J-2) (if applicable)
✔ Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)
     Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period
✔
     (Official Form 122C-1)
     Chapter 13 Calculation of Your Disposable Income (Official Form 122C-2)

✔ Copies of Pay Statements received within 60 days of filing from any employer or a statement indicating this
     requirement is not applicable

NOW, THEREFORE, IT IS HEREBY ORDERED, THAT
     The Clerk’s Office is directed to dismiss this case pursuant to 11 U.S.C. § 521(i)(1).
     The Clerk’s Office is directed not to dismiss this case pursuant to 11 U.S.C. § 521(i)(1) for the following reasons:
     ___________________________________________________________________________________________
     ___________________________________________________________________________________________
